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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

  Civil Action No. 14-cv-02863-RM

  TERENCE SOHLER, Individually and on Behalf of All Others Similarly Situated, and
  Derivatively on Behalf of KODIAK OIL & GAS CORP.,

         Plaintiff,

  v.

  WHITING PETROLEUM CORPORATION,
  1007695 B.C. LTD.,
  LYNN A. PETERSON,
  JAMES E. CATLIN,
  WILLIAM J. KRYSIAK,
  RODNEY D. KNUTSON and
  HERRICK K. LIDSTONE, JR., and
  KODIAK OIL & GAS CORP., a Canadian corporation.

         Defendants.


                                ORDER TRANSFERRING CASE


         It is ORDERED that, pursuant to D.C.COLO.LCivR 40.1A and with the approval of

  Chief Judge Marcia S. Krieger, this case is transferred to Judge Philip A. Brimmer.

         DATED this 29th day of December, 2014.

                                               BY THE COURT:



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                                               RAYMOND P. MOORE
                                               United States District Judge
